                          UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                               GREEN BAY DIVISION

BRIAN G. HEYER

       Plaintiff,
                                                      Case No. 1:19-cv-00015-WCG
v.

EXPERIAN INFORMATION SOLUTIONS,
INC., et al.,

       Defendants.

           DEFENDANTS EXPERIAN INFORMATION SOLUTIONS, INC.,
         EQUIFAX, INC., AND EQUIFAX INFORMATION SERVICES, LLC’S
                   JOINT MOTION TO DISMISS COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants Experian Information

Solutions, Inc. (“Experian”), Equifax, Inc., and Equifax Information Services, LLC (“EIS” and,

together with Equifax, Inc., “Equifax”), hereby jointly move this Court for an order dismissing the

Complaint filed by Plaintiff Brian G. Heyer and granting all other relief that the Court deems

appropriate. In support of this motion, Defendants rely upon the accompanying memorandum. For

the reasons set forth more fully in its accompanying memorandum, Defendants request that this

motion be granted.


Dated: March 8, 2019                                 Respectfully submitted,

                                                     /s/ Marie G Bahoora
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                                         Attorneys     for   Experian    Information
                                         Solutions Inc

Dated: March 11, 2019                    Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       This is to certify that I have this day electronically filed a true and correct copy of the
foregoing document by ECF, which will send notification of such filing to the following
attorneys of record:

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Dated: March 11th, 2019

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                                                    /s/ Meryl W. Roper
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                                                    Services LLC




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